          Case 2:24-cv-02484-DAD-SCR Document 8 Filed 11/13/24 Page 1 of 3


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 7   Attorneys for Defendant
     KD Creatives, Inc.
 8

 9
                              UNITED STATES DISTRICT COURT
10
                             EASTERN DISTRICT OF CALIFORNIA
11

12                                         Case No.: 2:24-CV-02484-DAD-SCR
     JENNIFER CARRUTH,
13
                                           STIPULATION TO EXTEND TIME TO
                 Plaintiff
14                                         RESPOND TO INITIAL COMPLAINT
15         vs.
                                           Complaint served: September 13, 2024
16                                         Current response date: November 15, 2024
     KD CREATIVES, INC.,
17
                                           New response date: December 6, 2024

18
                 Defendant.

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                  STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
             Case 2:24-cv-02484-DAD-SCR Document 8 Filed 11/13/24 Page 2 of 3


 1           Plaintiff JENNIFER CARRUTH (“Plaintiff”) and Defendant KD CREATIVES,
 2   INC. (“Defendant”), by and through their undersigned attorneys, stipulate and agree as
 3   follows:
 4           WHEREAS, Plaintiff served Defendant on September 13, 2024, with the
 5   Complaint (“Complaint”) in the above-referenced action;
 6           WHEREAS, Defendant’s original deadline to respond to this initial service was
 7   October 4, 2024;
 8           WHEREAS, pursuant to Local Rule 144, the parties stipulated to a twenty-eight
 9   (28) day extension of time in order to investigate and discuss a potential settlement of the
10   dispute, making Defendant’s response due on November 1, 2021;
11           WHEREAS, the parties stipulated to an additional fourteen (14) day extension of
12   time in order to investigate and discuss a potential settlement of the dispute, making
13   Defendant’s response due on November 15, 2021;
14           WHEREAS, the parties continue to actively investigate the allegations in the
15   Complaint for purposes of settlement discussions;
16           WHEREAS, accordingly, respective counsel for the parties have agreed to extend
17   Defendant’s time to respond to the Complaint for 21 days, up to and including December
18   6, 2024, in order to continue with investigation and settlement discussions, with the goal
19   of reaching a resolution without incurring potentially unnecessary litigation expense, nor
20   wasting judicial resources;
21           Accordingly, IT IS HEREBY STIPULATED AND AGREED AS FOLLOWS:
22           Without prejudice to any of the parties’ rights or defenses, Defendant’s time to
23   respond to the Complaint in this action shall be extended for 21 days, until December 6,
24   2024.
25   //
26   //
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                    STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
          Case 2:24-cv-02484-DAD-SCR Document 8 Filed 11/13/24 Page 3 of 3


 1        SO STIPULATED.
 2
     Dated: November 13, 2024                       NOLAN HEIMANN, LLP
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 4                                           By: /s/ Jordan Susman
                                               Jordan Susman
 5                                             Attorneys for Defendant
                                               KD Creatives, Inc.
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 7   Dated: November 13, 2024                       HEDIN, LLP
 8
                            By: /s/ Frank S. Hedin (as authorized on November 13, 2024)
 9
                                                  Frank S. Hedin
10                                                Attorneys for Plaintiff
                                                  Jennifer Carruth
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                 STIPULATION TO EXTEND TIME TO RESPOND TO COMPLAINT
